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 7
 8                          UNITED STATES DISTRICT COURT FOR THE
 9                             WESTERN DISTRICT OF WASHINGTON
10    COINLAB, INC., a Delaware Corporation
                                                         Case No. 2:13-cv-0077
11                           Plaintiff,
12              v.                                       FIRST AMENDED COMPLAINT
13    MT. GOX KK, a Japanese corporation, and            JURY TRIAL DEMANDED
      TIBANNE KK, a Japanese corporation.
14
                             Defendants.
15
16          COMES NOW, Plaintiff CoinLab, Inc. (“CoinLab”), by and through their undersigned
17
     attorneys, brings this action against the Defendants, Mt. Gox KK, a Japanese corporation (“Mt.
18
     Gox”), and Tibanne KK, a Japanese corporation (“Tibanne”). Plaintiff states and alleges as
19
     follows:
20
21                                        I.   INTRODUCTION

22          1.       CoinLab brings this suit against Mt. Gox to remedy breach of the parties’

23   exclusive license agreement for the United States and Canada. Both parties are among the
24   world’s largest providers of technology and services for the digital currency Bitcoin.                     In
25
     November 2012, the parties entered into a contract under which Mt. Gox granted CoinLab access
26
     to Mt. Gox computer servers and the exclusive right to certain intellectual property necessary for
                                                                               LAW OFFICES
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     COMPLAINT- 1                                                   (206) 652-8660, (206) 652-8290 FAX
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 1   CoinLab to provide digital currency exchange services to North American customers. CoinLab
 2   offered its credibility, market insights, relationships with established banks and investors,
 3
     intellectual property and agreed to manage and market the exchange services in North America.
 4
               2.      Mt. Gox has willfully failed to perform its obligations under this contract. Mt.
 5
     Gox has continued to market to customers in North America and has accepted business from
 6
 7   customers there. Mt. Gox has also failed to provide CoinLab with account reconciliation data,

 8   server access, and other information promised in the agreement that is essential for CoinLab to

 9   market exchange services and service its customers as contemplated in the agreement. These
10   breaches have caused CoinLab to lose customers and threaten to cause substantial damage to
11
     CoinLab’s business. As a result, CoinLab brings this action for breach of contract and related
12
     claims.
13
14                                 II. JURISDICTION AND VENUE

15             3.      Jurisdiction is proper in this Court under 28 U.S.C. § 1332. Plaintiff CoinLab is a

16   resident of Delaware and Washington State. Defendants Mt. Gox and Tibanne are residents of

17   Japan. This is an action for damages in excess of $75,000,000.00 excluding interest, attorneys’
18
     fees and costs.
19
               4.      CoinLab is a Delaware corporation with its principal place of business in King
20
     County Washington.
21
               5.      On information and belief, Mt. Gox and Tibanne (collectively “Defendants”) are
22
23   corporations organized under the laws of Japan with their principal places of business in Tokyo,

24   Japan.
25             6.      On or about November 22, 2012, Defendants and CoinLab entered into a fully
26
     integrated “Exclusive License Agreement for the USA & Canada agreement” (the “Agreement”).
                                                                                  LAW OFFICES
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 1   A true and accurate copy of the Agreement is attached hereto as Exhibit A.
 2          7.      The Agreement provides that the Defendants “irrevocably consent to the personal
 3
     jurisdiction of and venue in the state and federal courts located in King County, Washington with
 4
     respect to any action, claim or proceeding arising out of or relating to this Agreement.”
 5
            8.      The Agreement provides that it shall be governed, construed and interpreted in
 6
 7   accordance with the laws of the State of Washington.

 8                                            III. FACTS
 9          A.      The Bitcoin Market
10          9.      Bitcoin is the most successful digital currency in the world. Bitcoins were first
11   described in a paper published on the Internet in 2008 and were introduced to the market in early
12
     2009. Bitcoins are a currency that is not issued or directly overseen by any government, but that
13
     is instead managed through a peer-to-peer network operating over the Internet. Bitcoins use
14
     complex cryptography to protect the security of the Bitcoin system and prevent counterfeiting.
15
16          10.     When first introduced, a single Bitcoin was valued at less than one penny. The

17   value of a Bitcoin has increased substantially since introduction. At times a single Bitcoin has

18   been valued as high as $266. Bitcoins may be used to purchase goods and services through a
19
     number of websites or from any merchant that accepts Bitcoins.
20
            11.     A company offering Bitcoin exchange services will trade “fiat” or “sovereign”
21
     based currency such as U.S. dollars for Bitcoins and also trade Bitcoins for U.S. dollars or other
22
     currencies. The annualized exchange volume for Bitcoin exchanges has grown to over $12
23
24   billion/year as of April 2013.

25          12.     While Bitcoins are not a traditional fiat based currency, they are subject to
26   regulation by United States Financial Crimes Enforcement Network (“FinCEN”).

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 1          13.     In March 2013, FinCEN issued regulatory guidance for exchanges dealing in
 2   digital currency such as Bitcoins.
 3
            B.      CoinLab and Mt. Gox Provide Bitcoin Services.
 4
            14.     The Defendants provide Bitcoin exchange services via the Internet. They operate
 5
     an interactive website available at <https://mtgox.com/> (the “the Mt. Gox website”) which
 6
 7   accepts orders for Bitcoin exchanges.      Through the Mt. Gox website, users can exchange

 8   currency for Bitcoins. Mt. Gox has been widely reported to be the largest operating Bitcoin

 9   exchange in the world.
10          15.     CoinLab is engaged in the operation and development of Bitcoin software and
11
     technology products, services and platforms. CoinLab is prepared to provide Bitcoin exchange
12
     services directly to customers in the United States and Canada. CoinLab has established
13
     relationships with banks in the United States that will allow CoinLab to operate an exchange in
14
15   North America. Because of its relationships with these financial institutions and respected

16   venture capitalists and because of its adherence to applicable regulatory frameworks, CoinLab
17   has established a very positive reputation in the Bitcoin business community.
18
            16.     CoinLab is registered with FinCEN to provide Bitcoin exchange services in the
19
     United States and has fully complied with FinCEN’s March 2013 guidance for digital currency
20
     exchanges.
21
22          C.      The Agreement Provides CoinLab With Exclusive Rights.

23          17.     On November 22, 2012 Mt. Gox and CoinLab entered into the Agreement to

24   service the Bitcoin exchange market in a mutually beneficial manner that provided for stability
25   and liquidity in that market.
26
            18.     Mt. Gox has no established banking relationships in North America and is unable
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 1   to process transactions through banks in the United States or Canada. Through the Agreement,
 2   Mt. Gox greatly increased its ability to service the North American market.
 3
            19.       Through the Agreement, Mt. Gox was enriched through its relationship with
 4
     CoinLab and CoinLab’s intellectual property, expertise, standing in the Bitcoin ecosystem, and
 5
     relationships.
 6
 7          20.       Pursuant to the Agreement, Defendants granted CoinLab an exclusive license in

 8   the North American market to use the Defendants’ software and other intellectual property in

 9   providing digital currency exchange services (the “Licensed Materials”).
10          21.       The Agreement further provides that Defendants shall not grant anyone else the
11
     right to use the Licensed Materials to provide Bitcoin exchange services anywhere in the United
12
     States or Canada.
13
            22.       In consideration for this exclusive license and promise of cooperation, CoinLab
14
15   promised, among other things, to assume responsibility for managing and marketing the

16   exchange services in the United States and Canada. CoinLab also offered Mt. Gox the ability to
17   service North American customers in a manner that it could not otherwise achieve.
18
            23.       Failure to comply with the exclusivity provisions of the Agreement is expressly
19
     specified to be a material breach of the Agreement.
20
            D.        The Defendants Have Breached the Exclusivity Provisions.
21
22          24.       Defendants have breached the exclusivity provisions of the Agreement by directly

23   servicing customers in the United States and Canada since the Agreement took effect.

24          25.       The Agreement provides that beach of the exclusivity provisions of the
25   Agreement alone provides for liquidated damages in the amount of $50,000,000.00 as a non-
26
     exclusive remedy. The liquidated damages clause was defined at the time of the Agreement
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 1   because of the uncertain nature of the Bitcoin exchange market and likely underestimates the
 2   actual damages incurred by Bitcoin as a result of Mt. Gox’s breach of the exclusivity provisions
 3
     of the Agreement.
 4
            26.    Defendants have, in email and other written exchanges, and in public statements
 5
     to the press acknowledged that they have directly serviced customers in the United States and
 6
 7   Canada since entering the Agreement. This conduct constitutes a breach of the Agreement,

 8   including the exclusivity provisions in the Agreement.

 9          E.     The Defendants Have Breached Other Provisions of the Agreement.
10          27.    The Agreement further provides for a transition period whereby United States and
11
     Canadian customers are transitioned from Mt. Gox to CoinLab by March 22, 2013. Mt. Gox is
12
     required to cooperate with CoinLab to transfer North American customers, defined as “CoinLab
13
     Customers” in the Agreement, from Mt. Gox to CoinLab.
14
15          28.    Mt. Gox has failed to cooperate in facilitating the timely and seamless transfer of

16   CoinLab Customers to Coinlab since the Agreement took effect.
17          29.    Among other things, Defendants agreed to provide necessary technology,
18
     software, and know-how to CoinLab during the transition period and to establish promised
19
     connections from CoinLab’s computer network to Mt. Gox’s computer network.
20
            30.    Defendants have breached their promises to provide necessary technology,
21
22   software, and know-how to CoinLab and have refused or failed to establish promised

23   connections from CoinLab’s computer network to Mt. Gox’s computer network.

24          31.    In the Agreement, Mt. Gox promised to deliver all passwords, Yubikeys,
25   administrative logins and any other security information required for CoinLab to assume
26
     operation of the Bitcoin exchange services for customers in the United States and Canada if Mt.
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 1   Gox has a service interruption or is otherwise unable to maintain its exchange.
 2          32.     Despite repeated requests to do so, Mt. Gox has failed to deliver all passwords,
 3
     Yubikeys, administrative logins and any other security information required so that CoinLab
 4
     may assume operation of the Bitcoin exchange services for customers in the United States and
 5
     Canada in case of a service interruption.
 6
 7          33.     The Agreement requires that Mt. Gox shall make available to CoinLab on-

 8   demand and read-only access to Mt. Gox's databases and other related records and data

 9   pertaining to any and all accounts for customers in the United States and Canada.
10          34.     Despite repeated requests to do so, Mt. Gox has failed to make available to
11
     CoinLab on-demand and read-only access to Mt. Gox's databases and other related records and
12
     data pertaining to any and all accounts for customers in the United States and Canada.
13
            35.     The Agreement provides for a revenue share for customers in the United States
14
15   and Canada (defined as “CoinLab Customers”) at different levels, depending upon the date that

16   the customer began using Defendants’ services to exchange Bitcoins.
17          36.     Defendants have failed to comply with the revenue share requirements set forth in
18
     the Agreement and timely remit funds due to Coinlab.
19
            37.     Pursuant to the Agreement, Mt. Gox agreed to deposit Bitcoin and other funds
20
     (however denominated) of CoinLab Customers in an account or accounts controlled by CoinLab
21
22   (the "Liquidity Funds") in accordance with CoinLab's instructions on transaction types, timing of

23   transactions and wire transfer or other deposit instructions.

24          38.     Mt. Gox has failed to timely deposit Liquidity Funds in the manner instructed by
25   CoinLab.
26
            39.     Pursuant to the Agreement, the Parties were required to reconcile revenue and
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 1   customer trade imbalances on a weekly or more frequent basis.
 2          40.     Defendants have failed to timely reconcile revenue and customer trade
 3
     imbalances.
 4
            41.     The Agreement provides that CoinLab shall, for a period of five (5) years
 5
     following termination, receive trailing revenues for users in the United States or Canada that use
 6
 7   the Mt. Gox website or otherwise are serviced by Defendants for purposes of operating a Bitcoin

 8   exchanges or other purposes.

 9          42.     CoinLab stood ready to perform its obligations under the Agreement at all times
10   and informed the Defendants of this fact.
11
            43.     At all times during the Agreement, CoinLab has complied with its representations
12
     and warranties under the Agreement.
13
            44.     CoinLab has, at all times during the term of the Agreement, operated in
14
15   compliance with all applicable laws.

16          45.     CoinLab has provided assurances of compliance with its representations and
17   warranties and reasonable course of action for compliance with potential future changes in
18
     regulatory requirements applicable to operation of a Bitcoin exchange.
19
                           IV. COUNT I- BREACH OF CONTRACT
20
            46.     Plaintiff realleges paragraphs 1-46 as if fully set forth herein.
21
            47.     Since November 22, 2012, the Agreement has been a valid contact between
22
23   CoinLab and Defendants.

24          48.     For the reasons specified above, Defendants breached the Agreement, including
25   by
26
            A.      directly servicing customers in the United States and Canada in violation of the
                                                                                  LAW OFFICES
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 1                  Agreement’s exclusivity provisions;
 2          B.      failing to cooperate in facilitating the timely and seamless transfer of CoinLab
 3
                    customers to CoinLab;
 4
            C.      failing to provide the necessary technology, software, and know-how to CoinLab
 5
                    and refusing to establish promised network connections;
 6
 7          D.      failing to deliver all passwords, Yubikeys, administrative logins and other

 8                  required security information;

 9          E.      failing to make available to CoinLab on-demand and read-only access to Mt.
10                  Gox’s databases and other related records and data pertaining to accounts for
11
                    customers in the United States and Canada;
12
            F.      failing to timely comply with the Agreement’s revenue share requirements;
13
            G.      failing to timely deposit Liquidity Funds in the manner instructed by CoinLab;
14
15                  and

16          H.      failing to timely reconcile revenue and customer trade imbalances.
17          49.     As a result of Defendants’ breaches, Plaintiff has suffered actual damages in an
18
     amount equal to or exceeding $75,000,000.
19
20
                          V. COUNT II- BEACH OF IMPLIED DUTY OF
21
                              GOOD FAITH AND FAIR DEALING
22
            50.     Plaintiff realleges paragraphs 1-50 as if fully set forth herein.
23
            51.     Defendants owed Plaintiff a duty to cooperate with Plaintiff so that each party
24
25   could obtain the full benefit of performance.

26          52.     Defendants failed to so cooperate, including by

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 1          A.      directly servicing customers in the United States and Canada in violation of the
 2                  Agreement’s exclusivity provisions;
 3
            B.      failing to cooperate in facilitating the timely and seamless transfer of CoinLab
 4
                    customers to CoinLab;
 5
            C.      failing to provide the necessary technology, software, and know-how to CoinLab
 6
 7                  and refusing to establish promised network connections;

 8          D.      failing to deliver all passwords, Yubikeys, administrative logins and other

 9                  required security information;
10          E.      failing to make available to CoinLab on-demand and read-only access to Mt.
11
                    Gox’s databases and other related records and data pertaining to accounts for
12
                    customers in the United States and Canada;
13
            F.      failing to timely comply with the Agreement’s revenue share requirements;
14
15          G.      failing to timely deposit Liquidity Funds in the manner instructed by CoinLab;

16                  and
17          H.      failing to timely reconcile revenue and customer trade imbalances.
18
            53.     As a direct result of Defendants’ failure to cooperate, Plaintiff has suffered
19
     damages in an amount equal to or exceeding $75,000,000.
20
                                 VI. COUNT III - ACCOUNTING
21
22          54.     Plaintiff realleges paragraphs 1-54 as if fully set forth herein.

23          55.     Plaintiff demanded an accounting from Defendants pursuant to the Agreement by
24   asking Defendants to make available to CoinLab on-demand and read-only access to Mt. Gox’s
25
     databases and other related records and data pertaining to accounts for customers in the United
26
     States and Canada by demanding that Defendants timely comply with the Agreement’s revenue
                                                                                  LAW OFFICES
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 1   share requirements.
 2            56.    Defendants have refused to provide such an accounting. Defendants have also
 3
     failed to timely deposit Liquidity Funds in the manner instructed by CoinLab or to timely
 4
     reconcile revenue and customer trade imbalances.
 5
              57.    The account is so complicated that it cannot conveniently be taken in an action at
 6
 7   law.

 8                                 VII.    COUNT IV - RESTITUTION

 9            58.    Plaintiff realleges paragraphs 1-58 as if fully set forth herein.
10            59.    In their Answer and Counterclaim, Defendants have asked the Court to find that
11
     the Agreement is “void and unenforceable.” Dkt. No. 18, Counterclaim ¶ 3a. Defendants further
12
     request judgment that the Agreement has been rescinded. Id. ¶ 3b. Defendants have also
13
     purported to rescind the Agreement by notice and amended notice. Dkt. No. 18, Counterclaim ¶
14
15   36.

16            60.    Plaintiff specifically denies that the Agreement is void and/or unenforceable or
17   that the Agreement has been rescinded. See Dkt. No. 21, Answer to Counterclaim, ¶P 3, 36.
18
     However, in the event that the Court finds that the Agreement is void and/or unenforceable
19
     and/or rescinded, Plaintiff brings this claim for restitution of any and all benefits received by
20
     Defendants from Plaintiff pursuant to the Agreement, including without limitation any and all
21
22   enrichment of Defendants by virtue of their relationship with CoinLab and CoinLab’s intellectual

23   property, expertise, standing in the Bitcoin ecosystem, and/or relationships.

24                                   VII. RELIEF REQUESTED
25
              WHEREFORE, Plaintiff prays that this court enter judgment in their favor:
26
           A. Ordering Defendants to comply immediately with their obligations under the Agreement;
                                                                                   LAW OFFICES
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 1      B. Awarding Plaintiff damages in the amount to be established at trial;
 2      C. Ordering an accounting of all monies due Plaintiff from Defendants pursuant to the
 3
           Agreement;
 4
        D. Awarding Plaintiff restitution of all benefits conferred on Defendants by Plaintiff in
 5
           relation to the Agreement in the event that the Court determines the Agreement is void or
 6
 7         otherwise unenforceable.

 8      E. Awarding Plaintiff all costs and expenses incurred by Plaintiff as a result of Defendants’

 9         unlawful conduct, including reasonable attorneys’ fees, litigation expenses, and court
10         costs; and
11
        F. Granting such other relief as this Court deems just, necessary, and proper.
12
                   Dated this 14th day of November, 2013.
13
                                                 BRESKIN JOHNSON & TOWNSEND PLLC
14
15                                               By: /s/ Roger M. Townsend
                                                 Roger M. Townsend, WSBA No. 25525
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19
                                                 SUSMAN GODFREY LLP
20                                               By: /s/ Edgar Sargent
                                                 Edgar Sargent, WSBA No. 28283
21                                               Susman Godfrey LLP
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24
25                                               Attorneys for Plaintiff CoinLab

26

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                                                    COINLAB,INC.
                                                              &
                                                      MT.GOXKK

                                     EXCLUSIVE LICENSE AGREEMENT
                                         FOR THE USA & CANADA
  THIS EXCLUSIVE LICENSE AGREEMENT is made as of November 22nd, 2012 (the "Effective Date") by and
  between CoinLab, Inc. ("CoinLab"), a Delaware corporation with its principal place of business located at 71
  Columbia St., Suite 300, Seattle, WA 98104, Mt. Gox KK ("MtGox"), a Japanese corporation with a registered
  address at Round Cross 5F, Shibuya 2-11-6, Shibuya-ku Tokyo, Japan 150-0002 and Tibanne KK ("Tibanne"), a
  Japanese corporation with a registered address at Round Cross 5F, Shibuya 2-11-6, Shibuya-ku Tokyo, Japan 150-0002
  (CoinLab and MtGox being hereinafter referred to individually as a "Party" and collectively as the "Parties").

  WHEREAS, CoinLab is engaged in the operation and development of Bitcoin and other software and technology
  products, services and platforms;

  WHEREAS, MtGox is a Bitcoin exchange and financial services business;

  NOW, THEREFORE, in consideration of the mutual promises contained herein and other good and valuable
  consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as follows:

  1. LICENSE.

  A. Services. The "Services" shall be defined as the digital currency exchange service operated by MtGox on
  MtGox.com on the Effective Date.

  D. Licensed Materials. The "Licensed Materials" shall mean all software, processes, know-how, copyrights,
  patents, trademarks, trade dress, trade secrets, agreements, policies and any and all other intellectual property that
  constitutes or is used in providing the Services. The license to use the Licensed Materials granted under this Agreement
  shall mean the right to access the Licensed Materials in the form made available by MtGox and on the servers made
  available by MtGox in order to provide the Services, through mtgox.com (the "MtGox Website") or through a domain
  owned by CoinLab (the "CoinLab Website"); it shall not mean or include the right to copy, modify, reproduce, adapt
  or otherwise transform the Licensed Materials in any manner not specifically approved in advance and in writing by
  MtGox

  C. License Grant. As of the Effective Date, MtGox and Tibanne grant CoinLab an exclusive, non-transferable
  royalty-free license to the Licensed Materials for use to provide the Services within the United States of America and
  Canada (collectively the "Territory'), effective during the Term (as defined hereinbelow) and on the terms and
  conditions set forth in this Agreement. Except as otherwise stipulated in this Agreement, neither MtGox nor Tibanne
  shall revoke this license and any such revocation shall be deemed a material breach of this Agreement. Furthermore,
  and subject to all the terms and conditions of this Agreement, the Parties hereby grant each other a nonexclusive, non
  transferable, non-sublicensable license to use each Parry's trademarks, service marks and other trade dress for the sole
  purpose of marketing and branding the Services in the Territory.

 D Cessation of Operations. To ensure continuity of service, in the event the Services can no longer be provided
 by MtGox or its successors during the Term, MtGox or its successors and Tibanne shall ensure and shall cause that
 CoinLab shall continue to be granted without interruption the rights defined in the preceding section C for the
 remaining Term. Further, CoinLab shall be granted a right of first refusal to purchase or license all rights necessary to
 provide the Services outside the Territory at the conditions stipulated in Section D below.

 E- Right of First Refusal. MtGox, upon receipt during the Term of a bona fide written offer to purchase or license
 all rights, title or interests to the Services that states the terms and conditions upon which a purchase or license is to be
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  made, shall give CoinLab sixty days' written notification of MtGox's intention to sell or license the same along with a
  copy of such bona fide written offer (the "Sale Notice"). CoinLab shall have the right to purchase or license the same
  upon the terms and conditions stated in the bona fide written offer by giving written notification to MtGox of its
  intention to do so within thirty days after receiving the Sale Notice. The failure of CoinLab to so notify MtGox of a
  desire to exercise such right of first refusal within the thirty-day period shall result in the termination of this right of
  first refusal and MtGox shall be entitled to consummate the contemplated sale or license pursuant to the bona fide
  written offer.

  F. E x c l u s i v i t y.
  F. 1 During the Term, MtGox and Tibanne shall not grant anyone the right to use the Licensed Materials to provide
  the Services, or any part thereof, in the Territory. The exclusivity granted herein shall apply strictly to Services
  targeting the Territory and the CoinLab Customers (as defined below) and advertised and sold as such. It shall not
  include the provision of Services to users of the Services who, depending on the interpretation or circumstances, may or
  may not be considered CoinLab Customers.
  F.2 During a period of two years from the start of the Term, CoinLab shall not, directly or indirectly (including
  through legal entities ultimately owned by the same person or persons as CoinLab) provide services similar to the
  Services on any website. During said two years period, CoinLab may provide the Services to the CoinLab Customers
  only on the MtGox Website or on a CoinLab Website.

  G. Provision of services similar to the Services. Following the end of the two years period stipulated in the
  preceding paragraph, CoinLab may provide services similar to the Services on a CoinLab Website without using or
  relying on the Licensed Materials (a "CoinLab Technology Website"); provided, however that, if the CoinLab
  Technology Website was previously a CoinLab Website, the change of technology shall be clearly advertised
  sufficiently in advance and the CoinLab Customers shall be given the choice and the opportunity to switch to receiving
  the Services on a CoinLab Website or the MtGox Website.

  H. Advertising. When providing the Services on a CoinLab Website, CoinLab shall affix on the CoinLab Website
  the words "powered by MtGox" in a clearly visible manner approved in advance by MtGox. CoinLab shall not remove
  or modify this indication without MtGox1 prior approval.

  I. Transfer of CoinLab Customers. In the case where CoinLab shall decide to provide the Services on a CoinLab
  Website and shall transfer the CoinLab Customers from the MtGox to the CoinLab Website, MtGox shall cooperate
  with CoinLab; provided, however, that the costs incurred by MtGox to make the transfer technically possible shall be
  borne by CoinLab.

  J. Targets. During each year of the Term, CoinLab shall reach the following minimum Revenue:
           Yearl: US$310,000
           Year 2: US$ 341,000 or 110% of the actual Revenue of Year 1, whichever is greater
           Year 3: US$ 375,100 or 110% of the actual Revenue of Year 2, whichever is greater
           Year 4: US$ 412,610 or 110% of the actual Revenue of Year 3, whichever is greater
           Year 5: US$ 453,871 or 110% of the actual Revenue of Year 4, whichever is greater
           Year 6: US$ 499,258 or 110% of the actual Revenue of Year 5, whichever is greater
           Year 7: US$ 549,184 or 110% of the actual Revenue of Year 6, whichever is greater
           Year 8: US$ 604,102 or 110% of the actual Revenue of Year 7, whichever is greater
           Year 9: US$ 664,513 or 110% of the actual Revenue of Year 8, whichever is greater
           Year 10: US$ 730,964 or 110% of the actual Revenue of Year 9, whichever is greater
  Further, no later than 6 months prior to the end of any Term, the Parties shall agree on the minimum Revenue
  applicable to the next Renewal Term. In case the Parties fail to agree on the minimum Revenue, the applicable
  minimum Revenue during the next Renewal Term shall amount to the minimum applicable to the last year of the Term
  increased by 10%.
  Any failure by CoinLab to meet the targets for two consecutive years shall be considered a material breach of this
  Agreement which shall give MtGox the right, at its convenience, either to terminate the exclusivity granted to CoinLab
  under this Agreement or to terminate this Agreement. In the case where MtGox shall terminate the exclusivity granted
  to CoinLab this Agreement shall continue to be in effect among the Parties except for this section J.
  The obligation to reach the minimum Revenues defined herein shall apply even if CoinLab decides to provide the
   Services on a CoinLab Website and even if CoinLab decides to provide services similar to the Services on a CoinLab

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  Technology Website.

  J. Breach of Exclusivity. The Parties agree that any breach of section F shall be considered a material breach of
  this Agreement.

  K. Liquidated Damages. Both Parties hereby agree that it may be impossible to determine the monetary harm
  suffered by the non-breaching Party in the event that MtGox breaches section F.l or in the event that CoinLab breaches
  section F.2 and that therefore, after careful consideration, the Parties agree that reasonable damages for such breach
  shall be $50,000,000 USD, an amount the Parties agree is reasonable and fair given the nature of the Agreement.


  2. OPERATIONAL RESPONSIBILITIES.

  A. Operations. Following the Transition Period (as defined below), CoinLab shall assume responsibility for
  managing, and marketing the Services in the Territory in accordance with terms of services (the "ToS") approved in
  advance and in writing by MtGox. The ToS may only be changed with the prior written consent of MtGox, which shall
  not be unreasonably withheld unless the change would create significant differences with the Services provided by
  MtGox. If, upon notice MtGox fails to respond to a consent request under this section within 10 business days, than
  MtGox shall be deemed to have consented to such changes to the ToS.

  B. Cooperation. MtGox and CoinLab shall cooperate in marketing and promoting the Services as operated by
  CoinLab including the issuance of a joint press release in form and on a date as mutually agreed upon by the Parties.

  C. Customer Support. Following the Transition Period MtGox shall continue to be responsible for customer
  support until such time as CoinLab desires to utilize its own customer service resources. For so long as CoinLab shall
  utilize MtGox provided customer support, CoinLab shall pay to MtGox a pro-rata portion of the customer support
  direct costs, in any event not less than $2,000.00 USD per month. CoinLab shall have the option to provide direct
  customer support without compensating MtGox.

  D. Compliance. CoinLab shall operate the Services in the Territory in compliance with all applicable laws after
  completion of the Transition Period and MtGox shall cooperate fully with CoinLab in achieving such compliance.
  MtGox shall further provide CoinLab with any information or documents necessary for CoinLab to be compliant with
  all applicable laws and regulations of the Territory. In addition, MtGox shall deliver a complete copy of all compliance
  materials and policies to CoinLab before the completion of the Transition Period.

  E- Security. Before completion of the Transition Period, MtGox shall deliver all passwords, Yubikeys,
  administrative logins and any other security information required so that CoinLab may assume operation of the
  Services under the terms of this Agreement

  F. Hosting. Throughout the Term, MtGox shall host and maintain the Licensed Materials, the Service and the
  MtGox Website. MtGox shall provide the MtGox Website and Services with a minimum of 95% uptime on a monthly
  basis. If, in any given month during the Term the uptime for the MtGox Website or Services are below 95% then
  CoinLab may choose to host their own copy of the Licensed Materials.

  G. Database. MtGox shall make available to CoinLab during the Term, on-demand and read-only access to
  MtGox's databases and other related records and data pertaining to any and all customer accounts managed by
  CoinLab under the terms of this Agreement. In the case where CoinLab shall manage its own databases of the accounts
  of the CoinLab Customers, CoinLab shall provide on-demand and read-only access to said databases and other related
  records and data to MtGox when such data is required for MtGox to provide the Services.

  H. Updates. During the Term, MtGox and Tibanne shall furnish, at no additional charge to CoinLab, any update
  to the Licensed Materials it may develop which concern a feature or capability that is significant to enhancement or
  performance of the Licensed Materials. All such updates shall automatically become part of the Licensed Materials and
  shall be subject to all the terms and conditions of this Agreement. Further, any updates or changes to the Licensed
  Materials proposed by CoinLab and developed by MtGox or Tibanne shall immediately and automatically be
  transferred and vested to MtGox or Tibanne as stipulated by MtGox; provided, however, that (i) said updates or

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   changes shall be immediately integrated into the Licensed Materials and (ii) CoinLab shall cooperate with MtGox and
  Tibanne in ensuring that the ownership to said updates or changes be vested, transferred and/or registered in favor of
  MtGox or Tibanne. CoinLab represents and warrants that it shall not make any intellectual property claims with regard
  to any part of the Licensed Materials including said updates or changes.

  I. Autonomy. CoinLab may elect to provide or not provide the Services to any CoinLab Customer in its sole
  discretion; provided, however, that this shall always be in accordance with the ToS.

  3. TRANSITION OF CUSTOMER ACCOUNTS

  A. CoinLab Customers. "CoinLab Customers" shall mean all current and future users of the Services who are
  citizens of either the United States of America or Canada or that can be identified as such from identification
  documents provided to MtGox or CoinLab. MtGox agrees not to provide the Services to any CoinLab Customer and
  CoinLab agrees not provide the Services to any user who is not a CoinLab Customer for the Term. CoinLab and
  MtGox will implement a process that shall allow users changing their citizenship to become or cease being CoinLab
  Customers. CoinLab Customers shall include:
           (i) "Current CoinLab Customers" shall mean CoinLab Customers who became users of the Services
                      prior to the end of the Transition Period; and
           (ii) "Future CoinLab Customers" shall mean CoinLab Customers who became users of the Services after
                     the Transition Period.
  In addition, "New CoinLab Customers" shall mean persons who became users of services similar to the Services
  provided on a CoinLab Technology Website.

  B. Transition Period. As of the Effective Date MtGox and CoinLab shall cooperate in transferring the Liquidity
  Funds (as defined below) to accounts controlled by CoinLab at a time as mutually agreed upon by the Parties but no
  longer than 120 days from the Effective Date (the "Transition Period").

  C. Liquidity Funds. MtGox agrees to deposit Bitcoin and other funds (however denominated) of the CoinLab
  Customers identified on the Effective Date in an account or accounts controlled by CoinLab (the "Liquidity Funds"),
  with the understanding that all Bitcoin liabilities shall be funded by MtGox solely in Bitcoin. Such Liquidity Funds
  shall be deposited before completion of the Transition Period and in accordance with CoinLab's instructions on
  transaction types, timing of transactions and wire transfer or other deposit instructions.


  4. REVENUE SHARING AND SERVER USAGE FEES

  A. Revenue Sharing. For any revenue that is derived from fees, commissions or other payment charged to
  CoinLab Customers in relation with the Services during the Term (a "Revenue"), CoinLab shall be entitled:
         (i) for Current CoinLab Customers: 40% of the Revenue to CoinLab and 60% of the Revenue to
                   MtGox;
         (ii) for Future CoinLab Customers and New CoinLab Customers, 90% of the Revenue to CoinLab
                   and 10% of the Revenue to MtGox.

  B. Customer Fees. Subject to the provisions of the preceding Section A., CoinLab shall have sole discretion
  for setting customer fee schedules and managing revenue derived from CoinLab Customers in relation with the
  Services. MtGox shall make such modifications to the Licensed Materials and the Services to support any customer
  fee changes and mutually agreed upon revenue opportunities that relate to CoinLab Customers and/or the Services.

  C. Payment Terms. CoinLab shall remit to MtGox and/or MtGox shall remit to CoinLab its share of
  Revenues upon reconciliation as defined in section D.

  D. Reconciliation. The Parties shall reconcile Revenue and customer trade imbalances on a weekly basis on
  an as mutually agreed upon basis, provided that if Revenue and trade imbalances exceed $1,000,000.00 USD in
  value at any point in time then either Party can request an immediate reconciliation and the other Party shall initiate
  a transaction to provide funds in equal amount to the imbalance within one business day.


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  E. Server usage fees. During the time when the Services shall be provided on the MtGox Website, CoinLab
  shall pay a server usage fee calculated as shown in Exhibit A hereto (the "Server Usage Fee"). The Server Usage
  Fee may be updated from time to time by Tibanne, provided, however that any changes shall be enforceable
  against CoinLab only after one month from Tibanne's written notice stipulating the applicable changes.

  F. Prolexic fees. When providing the Services on the MtGox Website, CoinLab shall pay its share of the
  Prolexic fees paid by MtGox. When the Services shall be provided from a CoinLab Website, CoinLab shall
  execute its own DDoS protection agreement with Prolexic or any other service provider approved in advance by
  MtGox. Prolexic or said other service provider's fees shall in this case be paid directly by CoinLab; provided,
  however that the share of Prolexic or the other service provider's fees corresponding to the share of Revenues
  earned by MtGox shall be borne by MtGox. CoinLab shall invoice the same on a monthly basis to MtGox.

  G. Records and Audits. During the Term and for a period of one year thereafter, both Parties will maintain
  complete and accurate books and records regarding calculation of the Revenue, which books and records shall be
  sufficient to permit the other Party to verify the accuracy of the Revenues recorded. Either Party and/or its
  designated accounting and legal advisors shall be entitled to audit such books and records no more than once per
  calendar year and upon reasonable prior written notice to the other Party, provided that any such audit must take
  place at during normal business hours, and be performed in a manner designed to not unreasonably interfere with
  normal business operations. Any such audit will be performed at the initiating Party's expense, unless an audit
  discovers an underpayment of 5% or more for any period, in which event the offending Party will pay the
  reasonable expenses of any such audit.

  H. Taxes. Each Party shall be responsible for its own taxes including, without limitation, sales, use, property,
  excise, value added and gross receipts levied under the terms of this Agreement. The Parties agrees to provide all
  commercially reasonable assistance in determining each Party's tax liability under this Agreement. The Parties
  further agree to cooperate together to obtain any benefits arising from the application of the tax treaties between
  any part of the Territory and Japan.

  5. TERM; TERMINATION.

  A. Term and Renewal. This Agreement shall commence on the Effective Date and shall continue until ten years
  following the Effective Date (the "Initial Term"). The Agreement will automatically renew for successive additional
  two year periods ("Renewal Term") unless either Party gives notice of non-renewal one year in advance of the end of
  the current term. The Initial Term and the Renewal Terms are collectively referred to herein as the "Term".

  B. Termination for Cause. Either Party may terminate this Agreement if the other Party materially breaches any
  provision of this Agreement and fails to cure or demonstrate that no such breach has occurred within 30 days of receipt
  of written notice thereof.

  C. Termination for bankruptcy. Either Party may terminate this Agreement immediately and without notice in
  the case of a filing by the other Party of any voluntary petition in bankruptcy or liquidation, or the institution of any
  proceeding in bankruptcy or liquidation against such Party where such proceedings are not dismissed or withdrawn
  within 60 days thereafter, or the ordering of liquidation to such proceeding under the provision of any reorganization or
  other statute, or the placing of such Party into receivership on account of any insolvency, where such receivership is not
  lifted within 60 days thereafter, or where such Party is otherwise divested of its assets for a period of at least 60 days by
  operation of law, or where such Party makes a general assignment or composition for the benefit of its creditors,
  provided, however, that the provisions of this paragraph shall not apply to any liquidation entered into by either Party
  for the purposes of its amalgamation or reconstruction.

  D. Termination for change of control. MtGox and/or Tibanne may terminate this Agreement at any time by
  written notice with immediate effect in the case of any change of control of CoinLab, where a change a control shall
  mean the take over of a controlling interest in CoinLab by any third party (where controlling interest shall mean any
  equity interest or other interest capable of granting said third party significant influence over the management of
  CoinLab). Provided, however, that this shall clause shall apply only in the case where MtGox and/or Tibanne may
  reasonably demonstrate that the change of control shall have adverse consequences for the performance of this
  Agreement by CoinLab or for MtGox.
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  E. Post-termination, m the case where this Agreement shall terminate or the Term shall not be renewed for any
  reason whatsoever, CoinLab stop providing the Services on CoinLab Websites and shall make commercially
  reasonable efforts to immediately transfer or to cause to transfer all Current CoinLab Customers and Future CoinLab
  Customers, as well as all funds of the Current CoinLab Customers and the Future CoinLab Customers held by CoinLab
  to MtGox or any third party designated by MtGox. To that effect, CoinLab shall make available to MtGox or said third
  party the Licensed Materials and any database or materials used by CoinLab in the provision of the Services. No
  goodwill of any kind shall be due to CoinLab for the transfer of the Current CoinLab Customers and the Future
  CoinLab Customers to MtGox. Provided, however, that, during a period of 5 years following the termination or
  cancellation of this Agreement for any reason whatsoever:
            (i) the 60/40 Revenue sharing stipulated in Section 4.A shall continue to apply with regard to any
                      Current CoinLab Customers not transferred to MtGox pursuant to this Section E,
            (ii) the 90/10 Revenue sharing stipulated in Section 4. A shall continue to apply with regard to any Future
                      CoinLab Customers, whether transferred to MtGox pursuant to this Section E or not, and
            (ii) the 90/10 Revenue sharing stipulated in Section 4. A shall continue to apply with regard to any New
                      CoinLab Customers.

  F. Survival. The payment obligations incurred under Section 4 during the Term (to the extent outstanding), and
  the provisions of Sections 5(E)(Post-termination), 5(D) (Survival), 6 (Representations and Warranties), 7
  (Indemnification), 8 (Confidentiality), 9 (Limitation of Liability), and 10 (Miscellaneous) shall survive any termination
  or expiration of this Agreement.


  6. REPRESENTATIONS AND WARRANTIES.

  A A breach of the Representations and Warranties below shall constitute a material breach of this
  Agreement. The Parties and Tibanne represent and warrant for the Term:

           (i) Licensed Materials. MtGox and Tibanne represent and warrant that: (a) the Licensed Materials
           are free from, as applicable, significant programming errors and from defects in materials and
           workmanship; (b) the Licensed Materials shall conform to industry standard requirements for operating the
           Services; (c) the Licensed Materials shall conform to the highest industry standards for similar materials at
           the time of delivery; (d) MtGox and/or Tibanne is the sole and exclusive owner or valid license holder of
           all rights in the Licensed Materials including, without limitation, all copyrights, trade secrets, patent rights
           and all other proprietary interests therein, and MtGox and/or Tibanne has the right to grant CoinLab all
           rights granted in this Agreement free and clear of any and all agreements, liens, adverse claims,
           encumbrances and interests of any third party; and (e) at the best of MtGox and Tibanne's knowledge, the
           Licensed Materials and the exercise by CoinLab of its rights hereunder with respect to the Licensed
           Materials will not infringe upon, violate or misappropriate any patent, copyright, trade secret, trademark,
           contract or other right or interest of any third party.

           (ii) Service Guidelines. The Parties will perform the Services and their obligations under this
           Agreement in accordance with the highest industry standards and methods, in strict accordance with this
           Agreement. The Parties shall ensure that all aspects of its obligations hereunder are performed in
           compliance with all applicable laws, ordinances, rules and regulations.

           (iii) Non-Infringement. The Parties, in the course of complying with their obligations and duties under
           this Agreement, will not violate or infringe in any manner any third party rights, including, without
           limitation, property rights, copyright, patent, trademark, trade secret or other intellectual property right or
           right of privacy or publicity.

           (iv) Legal and Regulatory Compliance. The Parties, have to date and will continue throughout the
           Term to comply with all statutes, codes, ordinances, laws, regulations, rules, orders and decrees of all
           governmental authorities (including without limitation federal, state and local governments, governmental
           agencies and quasi-governmental agencies) having jurisdiction over a Party. The Parties specifically agree
           to fully cooperate and to obey any instructions or requests made by any competent authority with regard to

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           money laundering or other criminal activities. Nothing in this Agreement shall be construed as a
           representation or warranty from MtGox or Tibanne that any transaction contemplated in this Agreement or
           any transaction contemplated under the Services shall be legally permitted or shall not require an
           authorization, license or permit under any applicable law.

  B. Warranty of Authority. Each Party and Tibanne represent and warrant to the others that it is duly organized,
  validly existing and in good standing under the laws of the jurisdiction of its organization, and has the requisite power
  and authority to execute and deliver, and to perform its obligations under, this Agreement. Each Party and Tibanne
  represent and warrant to the other that this Agreement has been duly authorized, executed and delivered by such Party
  and Tibanne and constitutes a valid and binding obligation of such Party or Tibanne enforceable against such Party or
  Tibanne according to its terms. MtGox and Tibanne and MtGox NA further represent and warrants that Mark Karpeles
  has the requisite power and authority to execute this Agreement and bind Tibanne, MtGox KK and MtGox NA to the
  terms of this Agreement, and CoinLab represents and warrants that Peter Vessenes has the requisite power and
  authority to execute this Agreement and bind CoinLab, Inc. to the terms of this Agreement.

  7 . I N D E M N I F I C AT I O N .

  A. The Parties agree to indemnify, defend and hold each other harmless (including any affiliates and their
  respective officers, directors, employees and agents) from and against any and all losses, costs, obligations,
  liabilities, damages, actions, suits, causes of action, claims, demands, liens, encumbrances, security interests,
  settlements, judgments, and other expenses (including but not limited to cost of defense, settlement, and reasonable
  attorney's fees), of whatever type or nature which are asserted against, incurred, imposed upon or suffered by a
  Party by reason of, or arising from a third party claim related to: (i) the breach of this Agreement by a Party (its
  officers, directors, employees, or agents); (ii) the actual or alleged infringement by a Party (its officers, directors,
  employees, or agents) of any patent, copyright, trademark, trade secret or other property or contract right of any
  other person; (iii) the actual or alleged failure of a Party to promptly pay sums due third parties; or (iv) the acts or
  omissions of a Party (its officers, directors, employees, or agents).

  B. The Parties, agree to indemnify, defend and hold each other harmless (including any affiliates and their
  respective officers, directors, employees and agents) from and against any and all losses, costs, obligations,
  liabilities, damages, actions, suits, causes of action, claims, demands, liens, encumbrances, security interests,
  settlements, judgments, and other expenses (including but not limited to cost of defense, settlement, and reasonable
  attorney's fees), of whatever type or nature which are asserted against, incurred, imposed upon or suffered by a
  Party by reason of, or arising from the other Party failing to, or past failure to, comply with all statutes, codes,
  ordinances, laws, regulations, rules, orders and decrees of all governmental authorities (including without limitation
  federal, state and local governments, governmental agencies and quasi-governmental agencies) having jurisdiction over
  a Party.

   C. Promptly after learning of the occurrence of any event which may give rise to its rights under the provisions of
   this Section 7, the indemnified Party will give written notice of such matter to the indemnifying Party. Following
   receipt of such written notice, indemnifying Party shall, subject to the provisions of this Section 7: (i) promptly assume
   and diligently conduct the defense of any suit or action to the extent that it relates to any claim as to which indemnity
   may be sought hereunder, including settlements and appeals; and (ii) pay and discharge any and all settlement amounts,
  judgments or decrees which may be rendered with respect to such claim. The indemnified Party will reasonably
   cooperate with indemnifying Party in the defense, appeals and/or settlement of any such matter. The indemnifying
   Party shall be in charge of and control such defense, appeals and/or settlement and shall have the right to select counsel
   with respect thereto, provided that the indemnifying Party shall keep the indemnified Party reasonably apprised of all
   material developments in the matter. The indemnifying Party may not, without the prior written consent of the
   indemnified Party, enter into any compromise or settlement of any such matter that includes an admission of liability
   on the part of the indemnified Party. Without limiting the foregoing or releasing any obligation, liability or undertaking
   of the indemnifying Party, the indemnified Party insofar as its interests are affected, may at its sole discretion and
   expense, participate in any actions described hereunder using counsel of its own choosing.




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  8 . c o n fi d e n t i a l i t y :
  A. Confidential Information.

           (i) "Confidential Information" shall mean any and all information not generally disclosed to the public
           which is accessed or received by either Party as a result of this Agreement, whether furnished before or after
           the Effective Date of this Agreement and regardless of the manner in which furnished including but not
           limited to any information concerning the Licensed Materials and information concerning the CoinLab
           Customers.

           (ii) Restrictions on Disclosure/Use. Confidential Information is the sole property of the party disclosing
           it ("Disclosing Parry") and constitutes confidential trade secrets of such party. Each Party that receives
           Confidential Information ("Receiving Party") from a Disclosing Party hereunder agrees that, except as
           required in the performance of the terms of this Agreement, Receiving Party shall not publish, disseminate,
           copy, reproduce, disclose or make any use of any Confidential Information of the Disclosing Party. Nothing
           in this Agreement shall be construed to impose a confidentiality obligation upon either party in connection
           with information which:

               (a) was in the public domain at the time of disclosure or thereafter enters the public domain without
               breach of this Agreement by the Receiving Party;

               (b) was known and can be shown to be known to the Receiving Party at the time of disclosure;

               (c) is disclosed with the written approval of the Disclosing Party;

               (d) was independently developed by the Receiving Party at any time prior to disclosure by the
               Disclosing Party;

               (e) becomes known by legal means to the Receiving Party from a source other than the Disclosing
               Party without breach of this Agreement by the Receiving Party;

               (f) is required by law to be disclosed, but, for this subsection (f) only, Receiving Party shall promptly
               notify Disclosing Party and shall cooperate with Disclosing Party if it seeks a protective order or other
               appropriate measures to prevent dissemination of Confidential Information.

  B. Standard of Care. A Receiving Party agrees to take at least the same precautions to ensure the protection,
  confidentiality and security of the Confidential Information entrusted to it and to satisfy its obligations under this
  Agreement as it would to protect its own Confidential Information but in no event less than a reasonable standard.
  Receiving Party shall also limit the access to such Confidential Information to only those employees or agents having a
  need to know and only to the extent needed to carry out the performance of the terms of this Agreement, and such
  employees or agents shall be instructed concerning their obligations to maintain confidentiality. Receiving Party shall
  return to Disclosing Party all Confidential Information, or destroy and certify such destruction of all Confidential
  Information, promptly upon Disclosing Party's request.

   C. Damages. Receiving Party acknowledges that monetary damages may not alone be a sufficient remedy for
   unauthorized disclosure of Confidential Information and that Disclosing Party shall be entitled, without waiving any
   other rights or remedies, to such injunctive or equitable relief as may be deemed proper by a court of competent
  jurisdiction. Further, Receiving Party acknowledges and agrees that if there is a breach or threatened breach of the
   provisions regarding confidentiality Disclosing Party will be irrevocably harmed and entitled to a temporary restraining
   order, injunction, and/or other equitable relief against the commencement or continuance of such breach without the
   requirement of posting a bond or proving injury as a condition of relief.

  D. Preexisting Knowledge of the Parries. The Parties acknowledge that each Party enters into this Agreement
  with substantive preexisting knowledge, experience and relationships in the area of Bitcoin and related business
  models, technology, infrastructure, operations, products and services. Except as specified herein, nothing in this
  Agreement shall prohibit or place any restrictions on either Party's investments, relationships or initiatives with

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  respect to Bitcoin.

  9. LIMITATION OF LIABILITY.

  EXCEPT FOR CLAIMS SUBJECT TO INDEMNIFICATION OR ARISING OUT OF A BREACH OF
  CONFIDENTIALITY OR WILLFUL MISCONDUCT OR GROSS NEGLIGENCE OF A PARTY, NEITHER
  PARTY SHALL BE LIABLE TO THE OTHER FOR ANY INDIRECT, INCIDENTAL OR CONSEQUENTIAL
  DAMAGES IN CONNECTION WITH THIS AGREEMENT, INCLUDING, WITHOUT LIMITATION,
  DAMAGES RELATING TO THE LOSS OF PROFITS, INCOME OR GOODWILL, EVEN IF AWARE OF THE
  POSSIBILITY OF SUCH DAMAGES.

  The Parties further confirm that MtGox NA shall sign this Agreement for the sole purpose of confirming its
  understanding of the contents of this Agreement and that said signature shall not create any obligation whatsoever
  on MtGox NA.

  10. MISCELLANEOUS.

  A. Notices. Any notice required to be given pursuant to this Agreement shall be in writing and shall be deemed
  duly given either (i) seven (7) days after the date of mailing if sent by registered or certified mail, return receipt
  requested, or (ii) five (5) day after the date of mailing if sent by a national overnight courier service, or (iii) the date of
  sending by email to the email address set forth below, with conforming copy sent concurrently by first class U.S. mail,
  postage prepaid or national overnight courier service prepaid, to the following address:

                     If to CoinLab: CoinLab, Inc.
                                       To: Peter Vessenes
                                       71 Columbia St.
                                       Suite 300
                                       Seattle, WA 98104
                                       Email: peter@coinlab.com


                    If to MtGox: ML Gox KK
                                   To: Mark Karpeles
                                    Round Cross 5F, Shibuya 2-11-6, Shibuya-ku Tokyo, Japan 150-0002
                                    Email: mark@tibanne.com

                    If to Tibanne: Tibanne KK
                                      To: Mark Karpeles


  Any Party or Tibanne, by notice given as set forth above, may change the address to which subsequent notices are to be
  sent to such party.

  B. Public Announcements. No Party or Tibanne shall issue any press releases or publicity statements relating to
  this Agreement without the prior written approval of the other Party, which approval shall not be unreasonably
  withheld or delayed.

  C. Relationship. The Parties and Tibanne understand and acknowledge that they shall perform their duties
  hereunder as independent contractors, and that this Agreement does not create a joint venture, partnership,
  employment or agency relationship between the Parties.

  D. Assignment. Neither Party shall delegate, subcontract, or assign any of its duties or rights hereunder without
  the express written consent of the other Party.

  E. Governing Law. This Agreement shall be governed, construed and interpreted in accordance with the laws of
  the State of Washington. The parties hereby irrevocably consent to the personal jurisdiction of and venue in the

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  state and federal courts located in King County, Washington with respect to any action, claim or proceeding arising
  out of or relating to this Agreement.

  F. Amendments. This Agreement may not be modified except by a writing referencing this Agreement and
  signed by all the parties hereto.

  G. Headings. The headings contained herein are for the convenience of reference only and are not of substantive
  effect.

  H. Severability. If any provision herein shall be deemed or declared unenforceable, invalid or void by a court of
  competent jurisdiction, the same shall not impair any of the other provisions contained herein which shall be enforced
  in accordance with their respective terms.

  I. Entire Agreement. This Agreement including all applicable exhibits thereto is intended by the Parties as the
  final and binding expression of their contract and agreement and is a complete and exclusive statement of the terms
  thereof and supersedes all prior negotiations, representations and agreements including the MOU executed on or about
  June 5,2012 by the Parties. Whenever necessary or proper herein, the singular imports the plural or vice versa, and
  masculine, feminine and neuter expressions are interchangeable.

  J. Remedies: Waiver. No failure or delay by either party hereto to exercise any right, power or privilege
  provided hereunder or under the Agreement or by applicable law shall operate as a waiver thereof, nor shall any single
  or partial exercise of any such right, power, or privilege preclude any other or future exercise thereof of the exercise of
  any other right, power or privilege. The remedies provided herein shall be cumulative and shall not be exclusive of any
  rights or remedies provided by law.




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  IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above written.

  Parties:

  COINLAB,                 INC.:             MTGOX                 KK:




  Print: ~$Jfi{ VC^CH? <?                                          Mark Karpeles

  Title: CfQ <                                                     Representative Director




                                                          TIBANNE CORPORATION




                                                                   Mark Karpeles

                                                                   Representative Director


  Witness:

                                                          MTGOX NA


                                                          Sign:

                                                          P r i n t : f t / U K U K / H C P C ff e C

                                                          Title: C.t?(b




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